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IN THE UNITED STATES DIS'I`RICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

UNITED STATES, for the use and Benefit )
of, ASSET RECOVERY CONTRACTING, ) _
LLC, )
)
Plaintiff, ) Civil Action No. 03-2860-Ma/A
)
T
vs. ) ‘N oPEN COUR
) F\LED [l.f OS.
sAFECo INSURANCE CoMPANY oF ) TE, 9
AMERICA, ) oh w
) \MF,'.
Defendant. ) 1 \N

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JOINT PROPOSED PRETRIAL ORDER

 

In accordance With the pretrial procedures of the United States District Court for the
Western District of Tennessee, the parties hereby submit the following Joint Proposed Pretrial
Order:

(1) Jurisdictional Issues:

This action arises under the Miller Act, 40 U.S.C. § 3131, et seq. (formerly 40 U.S.C. §
270, et seq.) (the “Miller Act”). Venue is proper in this court pursuant thereto, as the federal
project, under Which this suit arises, is located in the Western District of Tennessee. The parties
are not aware of any jurisdictional issues, and the jurisdiction of this Court is not in dispute
(2) Pending Motions:

a. Discovery Motions:

There are no pending discovery motions by either party.

b. Evidentiary Motions:

There are no pending evidentiary motions by either party.

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with Rule 58 and!or 79(€1}FHCP on lp 14 !g£

 

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c. Dispositive Motions:

l. Defendant has filed a Motion for Summary Judgment, to which Plaintiff
has filed a response, and Defendant has filed a reply. Said Motion is still pending before this
Court.

(3) Summary of the case:

Price-Davis Construction Co., Inc. (hereinafter “Price-Davis” or “PD”) entered into a
contract with the Department of Veterans Affairs (hereinafter the “VA”) for the construction and
improvement of a federally funded construction project known as the Veterans Administration
Medical Center, Memphis, Tennessee. Plaintiff, Asset Recovery Contracting, LCC (hereinafter
“ARC”) entered into two subcontract agreements with Price-Davis Construction Co., Inc.
(“Price-Davis”), the prime contractor on said project Said subcontracts were generally for the
performance of "soft demolition work" and "hard demolition Work", respectively, (collectively
the “Subcontracts”). In connection with the project, Defendant, Safeco Insurance Company of
America (hereinafter “Safeco”), as surety, issued a Labor and Material Payment Bond (the
“Bond”), on behalf of Price-Davis, as principal The Bond was to secure certain work performed
and material provided by ARC, pursuant to the Miller Act, 40 U.S.C. § 3133, et. seq.

ARC has made claims against Safeco's Bond for price adjustments to its Subcontracts due
to delays, acceleration and inefficiencies and for Subcontract balances
(4) The respective contentions of the parties:

a. ARC’s contentions:

ARC is a demolition contractor, that Was hired to systematically dismantle the 5th
through 14th floors of the Veteran Aff`airs Medical Center (“VAMC”), located in Memphis,

Tennessee (also referred to as the “Project”). ARC presented a meticulously crafted work plan

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(ARC'S “Technical Management Report”) as the method and schedule by Which it would work
and as the basis for the price contained in two separate contracts (previously identified as the
“Subcontracts”). The chhnical Management Report was premised on information supplied to
the bidders as to the sequence, timing and reliability of precedent trades, such as: asbestos
abatement; mechanical removal and re-insulations; installation of a temporary roof; elevator
shutdown; and general renovation workl ARC relied upon the contractual promises of the
general contractor, Price Davis (“PD”), with respect to scheduling and coordinating the work of
the various trades on the Project.

Based upon these promises, ARC entered into the Subcontracts With PD. The first
Subcontract was for “soft demolition work,” that included: interior finishes, walls, ceilings,
mechanical and electrical work-to be demolished with skid-steer loaders, assisted by burners
(laborers with oxy/propane torches). The second Subcontract between ARC and PD was for the
performance of “hard demolition work.” The hard demolition contract was for the removal of
floor slabs, to be demolished with specialized demolition robots (tract-mounted
electronic/hydraulic remote controlled, articulated arm, lightweight machines) equipped with
concrete crushing drawers. With respect to the soft demolition phase, ARC experienced
additional mobilization and demobilization costs and performed out-of-sequence work that Was
not in accordance with its approved technical management pian. On the hard demolition phase,
ARC experienced scheduling delays caused directly by PD, and its failure to turn over critical
areas (providing ARC with access to its Work), late hiring of subcontractors, changes in the
scope of work, late completion of critical path items that ultimately resulted in the acceleration of

ARC's work.

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ARC submits that predecessor activities to the start of both the soft demolition work and
hard demolition work Were not completed. These include: the removal of VAMC employees
from Floors 5 and above; the salvage of the elevators and the removal of this equipment from the
elevator shaft; the completion of a temporary roof on Floor 5 ; the shutdown of the old
mechanical roof on the penthouse and the completion and acceptance by the VAMC of the new
mechanical room on the 4th floor; the construction of temporary offices and permanent
pharmacy offices and moving of employees of VAMC who occupied offices, on the 5th floor
and above, to the new temporary offices; timely completion of “Stage One” that was originally
planned to occur prior to ARC's receipt of a notice to proceed; denial of access to Floors 4 and 5
to perform soft demolition Work utilizing bobcats (as provided in its Technical Management
Report); and being provided a schedule by which ARC could plan its work.

Because these milestone activities were not accomplished, pursuant to the Project
schedule and Technical Management Report of ARC, ARC incurred additional costs on how it
was forced to perform the soft demolition work. Specifically, ARC had to perform soft
demolition work on the 4th and 5th floors using hand torches and laborers instead of a bobcat
and skid-steer equipment The former is more labor intensive and more costly than the latter.
ARC submits that it is entitled to an additional $251,271 in extra labor costs associated with the
soft demolition work and contract balance of $3,203.

Failure to timely perform predecessor activities, as provided in the Subcontracts, also
delayed the start of ARC‘s hard demolition contract work. Because no extension of time was
provided, ARC was forced to accelerate its forces and incur additional costs to complete the hard
demolition work. Currently, ARC is owed an additional $526,262 for this work and a contract

balance of $31,337.

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The disruptions to ARC’s performance of soft and hard demolition work include, but are

not limited to, the following:

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i)

vi)

vii)

PD did not move the pharmacy and its workers from the sixth (6"') floor to
the pmmnd floor and first (lst) floor until late August 2002, a delay of five

§ 5 ) months;

The temporary weather tight roof on the fifth (SThl floor was not finally
completed until Janu@; 16, 2003;

The elevator shutdown was not accomplished until eaer December of
2002 and the penthouse elevator equipment removal was not completed

until Janua;y 2, 2003;

An exhaust fan biohazard issue, which was originally discovered in April,
2002 by the mechanical contractor, caused delay to the start of hard
demolition; l
I-Iard demolition did not begin until eight (8) months after the start of soft
demolition (January 2003)` as opposed to the six (6) week lag which ARC
had planned (May 2002) between soft and hard demolition;

ARC was not able to continually ramp up its forces1 deploy them in a
consistent and sequential pattern. Instead, it worked in fits and starts,

demobilizing and re-mobilizing multiple times;

ARC was significantly impacted by the failure of PD to adhere to Article
C.6.2 of the Specifications entitled "Partnering.” Specifically, it was
envisioned that there would be an initial offsite workshop of two days and
four additional one day offsite workshops with representatives of PD,
ARC, the government and others in attendance Because of the early
delays on the Proiect and PD’s inability to give concrete dates for

commencement of various activities, PD ignored the requirements in

Articles C6-2 and instead took a more dictatorial. autocratic approach

rather than the partnering approach envisioned by the bid documents

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The provisions of the Subcontracts for Soft and Hard Demolition are identical and

include, but are not limited to, the following provisions:

ARTICLE 3 CONTRACTOR

3.1.1 The Contractor [PD] shall cooperate with the Subcontractor
[ARC] in scheduling and performing the Contractor’s [PD’s] Work
to avoid conflicts or interference in the Subcontractor’s [ARC’s]
Work and shall expedite written responses to submittals made by
the Subcontractor [ARC] in accordance with Article 4.1 [entitled,
Execution and Progress of the Work] and Article 5 [entitled,
Changes in the Work]. As soon as practicable after execution of
this Agreement, the Contractor [PD] shall provide the
Subcontractor [ARC] copies of the Contractor’s [PD’s]
construction schedule and schedule o of submittals, together
with such additional scheduling details as Will enable the
S_ubcontrgctor [ARC] to plan and_perform the Subcontractor’s
[ARC’sI Worl_c_properly.

[Emphasis added]
C.4.1 Contractor Responsibilities

The Contractor [PD] is solely responsible for the management
(planning, supervision and contract coordination), and construction
(including all labor, equipment, materials and inspections) to meet
requirements of this contract

C.6.2 Partnering

To most effectively accomplish the contract, the Government is
committed to form a cohesive Partnership with the contractor [PD]
and its major subcontractors [ARC]... The Partnership will strive to
draw on the strengths of each organization in an effort to achieve a
quality project done right the first time, within budget, on
schedule, and with the contractor making a fair proiit... The actual
scope of the Partnership agreement is subject to bilateral
agreement after ward, but an initial off-site workshop of two days
is required Four (4) additional one-day off-site workshops are
required and will be scheduled at a later date. In addition, informal

bi-weekly job-site partnering sessions are required throughout the
duration of the project.

[Emphasis addcd]

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Section 01010 of the General Conditions

2. Stage II, Demolition: After all occupants from the Fourth,
Fifth and Sixth Floors of the Tower have vacated,
demolition and all other work can continue on the tower
according to the Contractor’s [PD’s] approved work plan....

a) The new mechanical room on the Fourth floor must
be constructed, accepted by the Government and
occupied prior to disconnection of any utilities in
the tower that serve occupied areas below the
Fourth floor.

b) New exhaust fans to be located on the Fif`th floor
roof must be installed in temporary configuration
and completely operational and- accepted by the
Government prior to demolition of the tower or
final disconnection of existing fans...

Section 1310 of the General Conditions

l .l Description

The Contractor [PDl shall develop a Network Analysis (NAS) plan
and schedule demonstrating fulfillment of the contract

requirements shall keep the network up-to-date in accordance with
the requirements of this section and shall utilize the plan for

scheduling, coordinating and monitoring work under this contract

(including all activities of subcontractors [ARC], equipment
vendors and suppliers). Conventional Critical Path Method (CPM)
Precedence Diagramming Method (PDM) technique will be
utilized to satisfy both time and cost applications...

Safeco provided a Payment Bond to PD, to secure the work performed and material
provided on a federally funded project. Safeco’s liability is co-extensive with that of its
principal, Price~Davis. Accordingly, Safeco has a contractual obligation to pay ARC for the
additional labor hours and costs incurred

Finally, Safeco asserted that ARC waived and released Safeco’s principal, Price-Davis,

and thus, Safeco, as surety, from its claim for damages asserted in the Complaint. ARC denied

that there was proper consideration for such waivers, as these waivers were required to be signed

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for the receipt of partial payment for work performed under the Subcontracts. Further, ARC
contends that the partial waiver and lien releases are but one part of a much larger contract and
that ARC has complied with the Subcontracts, in their totality, to assert a claim for adjustment to
its contract price. Moreover, the lien releases, as signed by ARC, pertain to lien rights of a
contractor and not to the more general right of the contractor to receive total payment

b. Defendant's contentions:

Safeco denies any liability to ARC on the ground that ARC’s executed written waivers
throughout the project with each pay application it submitted which had the effect of waiving
and releasing Price Davis, and Safeco as surety, from the damages claimed in the Complaint.
Additionally, Safeco has denied the claims on the basis that Price-David had the contractual right
to direct and schedule ARC’s subcontract work, and ARC did not sustain any damages, as the
Contract and Subcontract work was timely completed Safeco denies that it is liable to ARC
because ARC caused or contributed to the additional cost, delays, accelerations and
inefficiencies, if any, and any damages stemming therefrom, alleged in its Complaint. Finally,
Safeco is not liable for consequential damages, if any.

Safeco contends that ARC executed Waivers in favor of Price-Davis, Safeco’s Surety
bond principal, for its benefit and the benefit of Safeco, with each pay application submitted
throughout the course of ARC’s performance of the subject Subcontracts. Each of the Waivers
provides that:

For and in consideration of the payment of $ which amount is

represented as being currently due is detailed by the application for payment or

invoice(s) referenced below, the sufficiency of which is hereby acknowledge

[sic], the undersigned does hereby waive, release, and relinquish any and all

rights, claims demands, liens claims for relief, causes of action and the like,

whether arising at law, under a contract in tort, in equity or otherwise, which the

undersigned has now or may have arising out of the performance of work or the
furnishing of labor or materials by the undersigned through [the date specified in

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such specific pay application and waiver], the effective date of this waiver and

lien release . . . with Price-Davis Construction, Inc. in connection with

construction of [the project]. Use of the term “Price-Davis Construction, Inc.”

shall be deemed to mean and refer to the company and its agents, representatives,

employees, directors and all those acting in their behalf

This Waiver & Lien Release applies to all facts, act [sic], events, circumstances,

changes, constructive or actual delays, accelerations, extra work, Disruptions,

interference’s [sic] and the like which have occurred, or may be claimed to have
occurred, prior to the effective date hereof, excepting only claims currently
unresolved for which written notice has been provided to Price-Davis

Construction, Inc. as follows: [lines provided for listing any such excluded

claims]

Except as specifically described above, any excepting retainage, if any held under

the Subcontract, the undersigned expressly waives all claims against Price-Davis

Construction, Inc. as hereinabove described The Waiver & Lien Release is

intended to apply to and protect Price-Davis Construction, Inc.’s payment and

performance bond surety. . .

The last Waiver was executed with Pay Application 14, submitted luly 24, 2003, and was
effective as to all claims, including delay damages accruing up and through June 23, 2003. ARC
had substantially performed both Subcontracts and was demobilized off the project prior to June
23, 2003. Hence, ARC’s present claims for delay, acceleration and disruption during the course
of its performance fall within the scope of the aforesaid final Waiver. ARC’s change orders set
forth in Pay Applications 15, requesting equitable adjustment of the Subcontract prices based on
delay, were not submitted until November, 2003, approximately five (5) months after ARC had
completed its subcontracts and demobilized. Accordingly, ARC's tardy change orders for
equitable adjustment due to delays that allegedly occurred during the progress of its work and,
necessarily, prior to its June, 2003 departure from the project, must be barred by the Waivers.

Safeco further contends that ARC has suffered no cognizable or recoverable damages for

the alleged delays and disruptions to its performance, as prayed for in its Complaint. Pursuant to

the Subcontracts, ARC was to proceed with its work on March 6, 2002 and be substantially

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complete under each Subcontract not later than 540 calendar days therefrom, subject to
adjustments in the subcontract time as provided for in the subcontract documents As such, work
under the Subcontracts was initially scheduled to be completed August 27, 2003. After duly
approved additive and subtractive change orders, the revised completion date was August 28,
2003. ARC substantially completed its work and demobilized under the subcontracts in June of
2003, and the entire project reached final completion on August 20, 2003, eight (8) days early.

The Subcontracts, pursuant to Articles 2, 3, 4, 5, 9 and otherwise, provided Price-Davis,
Safeco’s principal, with 540 days in which to direct and schedule ARC’s work under the
Subcontracts Safeco contends that Price-Davis did so in a manner in which ARC actually
completed its Work under the Subcontracts early. Accordingly, ARC suffered no damage on
account of alleged delays, accelerations or interruptions in its work.

Safeco contends that Price-Davis, with input from ARC, developed the project schedule
which ensured completion of the project eight (8) days early. Price-Davis promptly posted the
project schedule and continually updated the project schedule based upon ARC’s own requests
for payment and its “look ahead reports” which documented the percentage of completion of
each scheduled value under the Subcontractsl ARC was at all times apprised of the progress of
the work and the fluid changes in the schedule; any delays, accelerations, or inefficiencies
allegedly suffered by ARC were caused by it, or were the result of its own subcontractors In all
events, the alleged delays and disruptions did not ultimately result in delay of ARC’s completion
of the work under the Subcontracts

ARC unilaterally changed its means and methods, i.e., elimination of the chute method
for removal, changes in equipment utilization, and failure to provide fall protection, thereby

causing delays and inefficienciesl

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Additionally, Safeco contends that ARC and its subcontractors, in particular Safway Steel
Products (“Safway”), the scaffolding subcontractor, caused the alleged hard demolition delays
complained of by ARC. ARC’s own inability to obtain certification, approval, and release for
use of the necessary scaffolding prior to December 16, 2002, delayed its commencement of the
work under the hard demolition subcontract

Moreover, ARC’s own project superintendent was removed from the Project midstream
at the demand of the VA for safety violations

Finally, Safeco is not liable, pursuant to the Contract, the Bond and applicable law, for
any claims of ARC for consequential damages, lost profits or attorney fees.

(4) Uncontested Facts:

l. ARC is an Illinois corporation with its principal place of business located
in Skokie, Illinois.

2. Safeco is a Washington corporation with its principal place of business
located in Seattle, Washington.

3. Price-Davis entered into a General Contract for Construction with the
Department of Veterans Affairs dated February 8, 2002, (as previously defined, the “Contract”)
concerning that project known as “Construction Services, Seismic Corrections/Modemization
Phase 2, Project No. 614-011, VA Medical Center - Memphis, Tennessee, Contract No.
V101EC0193” (as previously defined, the “Project”).

4. Pursuant to the Miller Act, Safeco, as surety, executed and delivered
Payment Bond No. 6117388 (the “Bond”) in support of certain obligations of Price-Davis under

the Contract.

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5. ARC and Price-Davis entered into those certain Standard Form of
Agreement Between Contractor and Subcontractor l and 2, each dated March 15, 2002, wherein
ARC agreed to execute certain scopes of work under the Prime Contract generally comprised of
“soft demolition” and “hard demolition,” respectively (as previously defined, the
“Subcontracts”).

6. Price-Davis was given notice to proceed under the Contracts effective
March 6, 2002 (the “Commencement Date”).

7. PriceDavis’s work under the Contract was initially scheduled to be
completed August 27, 2003, and taking into consideration time extensions and deductions, the
revised completion date of Price-Davis’s work under the Contract was August 28, 2003 (the
“Completion Date”).

8. All work under the Contract, including ARC’s work under the
Subcontracts was complete on August 20, 2003.

9. By letter dated September 29, 2003, ARC presented its present claim to
Safeco.

10. By Applications and Certificate for Payment, No. 15, dated November 6,
2003, ARC asserted the Change Orders for equitable adjustment under the Subcontracts and for
payment of the original Subcontracts respective balances

ll. ARC filed suit against Safeco November l3, 2003.

(5) Contested Issues of Fact:
l. Did Price-Davis give ARC on a timely basis project schedules and updates

to enable ARC to perform its subcontract work on a timely and efficient basis?

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2. Did ARC incur additional costs due to the failure of predecessor activities
being completed on time pursuant to the Project schedule with regard to its work under the soft
demolition Subcontract on floors 4 and 5 of the Project?

3. Did ARC cause or contribute to the additional costs, delays or
inefficiencies if any, with regard to its work under the soft demolition Subcontract on floors 4
and 5 of the Project?

4. Did ARC incur additional costs due to the failure of predecessor activities
being completed on time, pursuant to the Project schedule, with respect to its work under the
hard demolition Subcontract on floors 5 through 14 of the Project?

5. Did ARC cause or contribute to the additional costs, delays, accelerations,
or inefficiencies, if any, with respect to its work under the hard demolition Subcontract on floors
5 through 14 of the Project?

(6) Contested Issues of Law:

l. ls ARC entitled to a contract price adjustment due to:

(a) a failure of Price-Davis to timely complete predecessor activities to
the start of ARC's work; and

(b) a failure of Price-Davis to provide ARC “unfettered” access to its
work; and

(c) a failure of Price-Davis to provide a schedule to ARC, in such a
timely fashion that it could plan and schedule its work?

2. ls Safeco’s liability coextensive with its principal, Price-Davis?

3. What claims, if any of ARC are covered by Safeco’s Bond?

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4. Did Safeco breach the Bond by failing to pay ARC for the additional labor
and materials it contends it supplied as a result of the unforeseeable changes, if any, experienced
by ARC on the Project?

5. Did ARC release Price-Davis, and thus Safeco as surety, from its present
claims by executing the waivers contained in the pay applications?

6. Was ARC, pursuant to the Subcontracts, required to perform its work as
directed and as scheduled by Price-Davis?

7. Was Price-Davis, pursuant to the Subcontracts, required to provide ARC
“unfettered” access to its work?

(7) List of Exhibits:
The parties intend to offer the following exhibits into evidence Except as specifically set
forth below, the Parties hereby stipulate to the admissibility of each exhibit. The parties further

stipulate that correct copies of any exhibit shall be treated as if they were the originals

Trial Deposition
Exhibit No. Exhibit No.
l. lnitial Schedule Report l
2. Donald Meyer Binder 2
3. September 7, 2004 letter from Automated Construction 3

Technology ("ACT") to Bob West Re: enclosing CD
Rom _ project updates

4. Day l Approved Schedule 4
5. Drawing - Comparison of Day l v. Actual Dates 5
6. Network Analysis System Logic Diagram 6
7. August 16, 2002 letter from Price-Davis to ARC Re: 7

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Trial Deposition
Exhibit No. Exhibit No.

Enclosing Look Ahead report

8. September 7, 2001 - Technical Management Approach 8
Report

9. February 21, 2002 _ VAMC Planning Meeting Agenda 9

10. March 26, 2002 - Job Meeting No. l - Agenda 10
Completion of first floor offices

11. April 16, 2002 - Job Meeting No. 4 - Minutes and 11
Agenda (CPM)

12. June 6, 2002 letter from Price-Davis to ARC Re: Hours 12
to be worked per week

13. June 24, 2002 letter from ARC to Price-Davis Re: 13
Request for schedule update

14. July 2, 2002 letter from Price-Davis to ARC Re: 14
Percentages of work being performed

15. June 18, 2002 letter from ARC to Price-Davis Re: 15
Schedule concerns

16. Site Specific Safety Plan 16

17. March 21, 2002 letter from ARC to Price-Davis Re: 17
Response to handwritten notes from VA

18. March 25, 2002 letter from ARC to Price-Davis Re: 18
Asbestos Floor Tile Issues

19. March 26, 2002 letter from ARC to Price-Davis Re: 19
ltems not included on proposal

20. April 2, 2002 letter from Price-Davis to ARC Re: 20
Enclosing two subcontract agreements

21. April 9, 2002 - Job Meeting No. 3 - Minutes (completion 21
of lst floor) and Agenda

22. May 3, 2002 letter from ARC to Price-Davis Re: lssues 22

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Trial Deposition
Exhibit No. Exhibit No.

of proposed tower crane

23. June 5, 2002 letter from ARC to Price-Davis Re: 23
Demolition work; approval of schedule

24. June 18, 2002 - .lob Meeting No. 9 - Minutes and 24
Agenda

25. June 26, 2002 fax from ARC to Matt Bunchek Re: 25
limited access to tower

26. Two June 27, 2002 letters from ARC to Price-Davis Re: 26
Working five/ten; dates of turnover

27. July 2, 2002 - Job Meeting No. 10 - Minutes (ARC 27
working five tens) and Agenda

28. August 16, 2002 letter from ARC to Price-Davis Re: 28
Problems revealed at coordination meeting

29. August 19, 2002 letter from Price-Davis to ARC Re: 29
Response to August 16 letter

30. September 5, 2002 letter from Veterans Administration 30
("VA") to Price-Davis Re: Work performed below 4th
floor

31. General Conditions Section 01010 ~ Fire Safety 31

32. General Conditions Section 01010 - Protection 32

33. General Conditions Section 02050 - Demolition 33

34. September 17, 2002 - Job Meeting No. 17 - Minutes 34

(falling block) and Agenda

35. September 10, 2002 - Job Meeting No. 16 - Minutes 35
(temporary roof) and Agenda

36. September 16, 2002 letter from ARC to Price-Davis Re: 36
Delivery date of crane

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Trial Deposition

Exhibit No. Exhibit No.

37. October 15, 2002 letter from ARC to Price-Davis Re: 37
Hard demolition phase

38. October 17, 2002 letter from ARC to Price-Davis Re: 38
Penthouse walk-through

39. October 29, 2002 letter from Price-Davis to ARC Re: 39
Letter and agenda for partner workshop

40. October 29, 2002 - Job Meeting No. 20 - Minutes 40
(exhaust fans) and Agenda

41. November 7, 2002 letter from ARC to Price-Davis Re: 41
Exhaust fans

42. November 13, 2002 letter from ARC to Price-Davis Re: 42
Schedule restraints

43. November 15, 2002 letter from ARC to Price-Davis Re: 43
Temporary partitions

44. CPM Schedule 44

45. November 19, 2002 - Job Meeting No. 21 - Minutes 45
(temporary roof) and Agenda

46. November 22, 2002 letter from ARC to Price-Davis Re: 46

l-lard demolition

47. November 26, 2002 letter from Price-Davis to ARC Re: 47
Delay because of fallen block

48. December 2, 2002 letter from ARC to Price-Davis Re: 48
Reduction in crew size

49. December 16, 2002 fax from ACT to Price-Davis Re: 49
Completion schedule

50. December 27, 2002 letter from ARC to Price-Davis Re: 50
Enclosing marked up - 4.2.1,1 Technical Management
Approach

51. Drawing - Activity and duration time lines 51

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Trial Deposition

Exhibit No. Exhibit No.

52. December 27, 2002 letter from ARC to Price-Davis Re: 52
Scaffold; pictures attached

53. OSHA lnspections of Safeway scaffolding 53

54. December 3, 2002 letter from Price-Davis to ARC Re: 54

Completion of scaffolding

55. May 2, 2002 fax from ARC to Price~Davis Re: Break 55
down of Sol`t and hard demo

56. July 18, 2002 Retum of Submittal of VA Re: Site 56
specific safety plan/enviro protection plan

57. March 20, 2002 fax from Price-Davis to ARC Re: 57
Periodic pay requests

58. December 12, 2002 fax from ARC to Cohen, Seligas, 58
Pallas Re: Partial Waiver &, Payment Applications

[ARC objects to that portion of this exhibit which is
comprised of the fax coversheet from ARC to Cohen, Seligas

& Pallas]

59. Payment Applications 59

60, August 27, 2002 - VAMC ~ Issues/Solutions 60

61. January 23, 2003 letter from ARC to Price-Davis Re: 61
Additional work

62. Change Order No. 9 62

63. May 3, 2002 fax from Price-Davis to ARC Re: 63

Enclosing Look-Ahead Reports

64. May 15, 2002 letter from Price-Davis to ARC Re: Look- 64
Ahead Report - May

65 . September 4, 2002 letter from Price-Davis to ARC Re: 65
Look-Ahead Report - September

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Exhibit No. Exhibit No.

66. October 14, 2002 letter from Price~Davis to ARC Re: 66
Look-Ahead Report - October

67. November 13, 2002 letter from Price-Davis to ARC Re: 67
Look-Ahead Report - November

68. December 11, 2002 letter from Price-Davis to ARC Re: 68
Look-Ahead Report - December

69. December 3, 2002 letter from Price-Davis to ARC Re: 69
Request for rescheduling of project

70, December 23, 2002 fax from ACT to Price-Davis Re: 70
Revision of ARC demolition schedule

71. December 26, 2002 fax from ARC to ACT and Price- 71
Davis Re: ARC's input into revised schedule

72. Payment Applications (chute) 72

73. December 4, 2002 letter from Price-Davis to ARC Re: 73
Employee knocking hole in chase wall

74. July 15, 2002 letter from ARC to Price-Davis Re: Use of 74
Bobcat on fifth floor

75. July 19, 2002 letter from ARC to Price-Davis Re: Use of 75
Bobcat on fiRh floor

76. July 16, 2002 letter fro Price-Davis to VA Re: 76

Requesting approval from VA for use of Bobcat

77. July 19, 2002 letter from Price-Davis to VA Re: 77
Enclosing Fire Marshal's approval

78. August 14, 2002 letter from ARC to Price-Davis Re: 78 '
Scaffolding drawings submitted for approval

79. September 3, 2002 letter from ARC to Price-Davis Re: 79
Response to issues of VA on scaffolding drawings

80. September 3, 2002 fax from Saf`way Steel to ARC Re: 80
Update of proposal for scaffolding services

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Trial Deposition
Exhibit No. Exhibit No.
81. November 4, 2002 letter from Safway to ARC Re: 81

Validation of recertification

82. November 21, 2002 letter from Safway to ARC Re: 82
Damage to scaffold due to wind

83. December 3, 2002 letter from Associated Mgmt 83
Consultants To ARC, Safway and Price-Davis Re:
Questioning tie-downs

84. December 3, 2002 ~ Job Meeting No. 22 - Minutes 84
(scaffolding) and Agenda

85. December 5, 2002 letter from AMC to Price-Davis Re: 85
Concems about ARC's lack of communication

86. December 5 , 2002 e-mail from Price~Davis to ARC Re: 86
Safety consultants issues

87. December 6, 2002 letter from Price-Davis to ARC Re: 87
Receipt of recertification

88. December 6, 2002 e-mail from Price-Davis to ARC Re: 88
Reaffirming receipt of recertification

89. December 10, 2002 letter from Associated Mgmt to 89
Price-Davis Re: lssues about alterations to erection plan

90. ` December 10, 2002 letter from Price-Davis to ARC Re: 90
Requesting certification

91. December 10, 2002 letter from Price-Davis to ARC Re: 91
Requesting certification

92. December 11, 2002 handwritten letter from AMC to 92
Price-Davis Re: Fourth visual inspection

93. December ll, 2002 letter from Price-Davis to ARC Re: 93
Digital pictures taken

94. December 13, 2002 letter from Price-Davis to ARC Re: 94

Re-inspection of scaffolding corrections

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Exhibit No. Exhibit No.

95. December 16, 2002 - Inspection logs 95

96. December 16, 2002 fax from Price-Davis to Re: 96
Amerisure lnsurance

97. December 16, 2002 fax from Price-Davis to ARC Re: 97
Adjustments made to scaffolding

98. December 17, 2002 letter from Price-Davis to ARC Re: 98
Scaffold release

99. January 2, 2003 letter from VA to Price-Davis Re: 99
Removal of Werner from job

100. January 2, 2003 handwritten memorandum of Price- 100
Davis Re: Description of incident (demolition)

101. January 3, 2003 letter from Price-Davis to ARC Re: 101
Demanding removal of Werner from job

102. January 10, 2003 letter fro ARC to Price-Davis Re: 102
Revised plan for roof demo

103. Change orders 103

104. December 10, 1002 letter from Price-Davis to ARC Re: 104
Clarification of.scope and schedule deviations

105, June 30, 2002 letter from Price-Davis to ARC Re: lssue 105
of five ten hour days

106. June 3, 2003 fax from ARC to Price-Davis Re: 106
Attaching schedule to close out jog

107, June 16, 2003 - Daily log sheet 107

108. June 6, 2003 transmittal from M.A.C Company to Price- 108

Davis Re: Photo - damage to temporary roof

109. June 19, 2003 letter from ARC to Price-Davis Re: 109
Completion of work

21

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Exhibit No. Exhibit No.
110. June 20, 2003 fax from ARC to Price-Davis Re: 110
Transmitting Look-Ahead report (washdown)
lll. June 23, 2003 letter from Price-Davis to ARC Re: lll
Project close out
112. July 10, 2003 letter from ARC to Price-Davis Re: l 12
Response to Exhibit lll
113. Letter dated September 5, 2002 from Jim Taylor at
Veterans Administration to Bob West at Price-Davis
114. Letter dated October 28, 2002 from Jim Taylor at
Veterans Administration to Bob West at Price-Davis
115. Letter dated December 3, 2002 from J im Taylor at
Veterans Administration to Bob West at Price-Davis
116. Letter dated December 4, 2002 from Jim Taylor at
Veterans Administration to Bob West at Price-Davis
117. Letter dated January 2, 2003 from Jim Taylor at Veterans
Administration to Bob West at Price-Davis
118. September 29, 2003 correspondence from ARC, through
counsel, to Price-Davis on which Safeco was copied, re:
claim for equitable adjustment
119. The Prime Contract documents
120, The Project plans
121. The Subcontract documents
122. Plaintiffs safety manual, including its job plan, safety
plan, forms, and MSDS
123. All certified public records received from the Veterans
Administration pursuant to Freedom of lnforrnation Act
requests
124. All certified public records received from OSHA

pursuant to Freedom of lnformation Act requests

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Exhibit No. Exhibit No.

125. Scaffolding plans received from Safway

126. The expert report of Victor Ostrowski and all
attachments/appendix

127. The video of the Project safety meeting
128. All photos of scaffolding

129. All photos depicting the preexisting Veterans
Administration Building received from Price-Davis' files

130. All photos of the elevators on the Project received from
Price-Davis' files

131. All photos of demolition activities received from Price-
Davis' files

132. September 6, 2001 letter from Daniel Hoffman to Price-
Davis enclosing ARC‘s proposal

133. February 8, 2002 letter from Department of VA, John
Blake enclosing Contract No. V101BC0193-2PD

134. February 19, 2002 letter from Bob West to VAl\/IC
enclosing Payment and Performance Bond

135. Payment Bond - Bond No. 6117388
136. March 6, 2002 Pre-Construction Conference

137. June 18, 2002 ARC letter from Jim Werner to Bob West
of Price-Davis regarding scheduling concerns

138. June 24, 2002 ARC letter from David Schauer to Rob
Cohen regarding scheduling update

139. June 30, 2002 Price-Davis letter of Rob Cohen to David
Schauer of ARC regarding response letter dated 6/27/02

140. July 2, 2002 Price-Davis letter of Lynne Carter regarding
approved percentages for June 25, 2002 billing

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Trial - Deposition
Exhibit No. Exhibit No.

141. July 11, 2002 letter to Rob Cohen to J ames Taylor
regarding 5th Floor Abatement Plan

142. July 26, 2002 ACT Potential Time Request for FSA-004

143. August 5, 2002 VAMC lssues and Resolution Meeting
Minutes

144. August 6, 2002 Look Ahead Schedule for VAMC

145. August 14, 2002 ARC letter of David Schauer to Bob
West of Price-Davis regarding the final scaffold
drawings

146. August 18, 2002 Arc letter of David Schauer to Bob
West of Price-Davis regarding scheduling meeting of
August 15, 2002

147. August 26, 2002 Price-Davis letter of Tony Godwin
regarding hot cutting of trayveyor

148. August 30, 2002 ARC letter of David Schauer to Bob
West of Price-Davis regarding ARC progress of work
and hot cutting trayveyors

149. September 24, 2002 Arc letter of David Schauer to Bob
West of Price-Davis regarding storage of elevator
equipment

150. October 9, 2002 Meeting Minutes regarding check list
for hard demolition

151. October 15, 2002 ARC letter of J im Werner regarding
hard demolition phase start: potential delay

152. October 20, 2002 ARC letter of David Schauer to Bob
West of Price-Davis regarding David Schauer‘s
credentials as on-site competent person

153. October 23, 2002 ARC letter of David Schauer to Bob

West of Price-Davis regarding change order request for
Mr. Totolo's office, 4th floor

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Trial Deposition
Exhibit No. Exhibit No.
154. October 24, 2002 ARC letter of l im Werner to Bob West

155.

156.

157.

158.

159.

160.

161.

162.

163.

164.

165.

166.

of Price-Davis regarding clarifications and confirmation
of change order for Mr. Totolo's office

October 28, 2002 ARC letter of John Anderson to Bob
West of Price-Davis regarding lead plan stairwe]l,
handrail removal

October 30, 2002 Meeting Minutes regarding VAMC
Issues and Resolutions

November 4, 2002 VAMC Tearn Building Meeting
Minutes

November 6, 2002 Price-Davis letter of Tony Godwin
regarding exhaust fumes

November 12, 2002 ARC letter 0f David Schauer to Bob
West of Price-Davis regarding asbestos panel removal
from roof.

November l2, 2002 ARC letter of David Schauer to Bob
West of Price-Davis regarding request for change in
work times

November 14, 2002 ARC letter of David Schauer to Bob
West of Price-Davis regarding ARC not being on site in
November of 2002

November 18, 2002 VAMC letter of J ames Taylor
regarding existing laboratory exhaust systems

November 18, 2002 e-rnail from David Schauer to Jim
Werner regarding status of Project

November 19, 2002 ARC facsimile from Jim Werner to
Bob West of Price-Davis regarding existing laboratory

exhaust system

November 19, 2002 e-mail from J im Werner to David
Schauer regarding status of`Project

December 2, 2002 ARC letter of James Werner to Bob

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Exhibit No. Exhibit No.

West of Price-Davis regarding 4-week delay: 3rd floor
ceiling incident

167. December 4, 2002 Price-Davis letter of Bob West to
ARC regarding meeting in VA trailer

168. December 9, 2002 e-mail from Bob West of Price-Davis
to James Werner regarding recertification of scaffolding

169. December 17, 2002 ARC letter of J ames Werner to Bob
West of Price-Davis regarding explanation of Bill
Bodford's apology

170. December 18, 2002 ARC letter of James Werner to Bob
West of Price-Davis regarding VAMC/Irwin's letters
dated 12/15/02 and 12/10/02

171. December 23, 2002 Price-Davis letter of Lynne Carter
regarding partnering session information

172, January 3, 2003 Price-Davis letter of Bob West to ARC
regarding removal of concrete beams on the roof,
enclosing January 2, 2003 letter of VAMC

173. January 7, 2003 ARC letter of David Schauer to Bob
West of Price-Davis regarding change order for 4th Floor
were completed on VA Project Manager's Office Suite

174. March 3, 2003 VAMC letter of J ames Taylor to Bob
West of Price-Davis regarding Project status

175. CPM Schedule dated run date of December 16, 2002
start date March 6, 2002, finish date October 2, 2003 and
data date on November 27, 2002

176. Contract Progress Reports dated: May 27, 2002; April
22, 2002; February 25, 2002; and November 26, 2002

177. Owner Change Orders for Contract VlOlBC0193
178. Volume l and Volume 2 of VAMC Specifications

179. ARC Surnmarization of hand versus machine analysis for

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Exhibit No. Exhibit No.
Floors 4 and 5 - Soft Demo

180. ARC Cost Spread Sheet Detail

181. ARC Cost Transactions

182. Construction in Industry Equipment and Supply Invoice
ofJuly 16, 2002 to ARC

183. Skid steer loaders pricing sheet

184. ARC Summarization of Hard Start Delay Costs through
January 4, 2003

185. Rental Max Equipment Rental Catalog dated 2002

186. Summarization of Change Order Work performed by
ARC for Price-Davis dated June 26, 2003

187. Payment Applications of ARC Nos. l - 15 for Hard
Demolition Contract

188. Payment Applieations ofARC Nos. l - 15 for Sof`t
Demolition Contract (the Sof`t Demolition Contract
Payments Applications Were a deposition exhibit)

189. ARC Daily Load Analysis

190. CPM Schedule received November 28, 2002 With a run
date of October 17, 2002 - data date of September 25,
2002, finish date of September 12, 2003 and a start date
of March 6, 2002

191. Progress Photographs of the Project (discovered on the
last production of documents of Price-Davis)

192. The expert report of Paul Kaiser, and all
attachments/appendix

List of Witnesses:

3.

ARC's witnesses:

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ii.

iii.

ARC will call the following witnesses:

l_

2.

8.

9.

Daniel Hoffman
James Werner
David R. Schauer
Bill Anderson
Miguel Gornez
Ben Wilson

Bill Freehling
Paul Kaiser

Donald H. Meyer

10. Bob West

ll. Mike McCabe

ARC may call the following witnesses:

l.

2.

Matt Bunchek
Tony J. Godwin
Rob Cohen

Bill Bodford
Chris Freschette
Peter Brown
Skeeter Davis
Thom Price

Any witness designated by Safeco

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ARC will call the following aforementioned expert witness:

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Paul Kaiser. Mr. Kaiser Will offer opinions and conclusions regarding ARC’s alleged

delays, accelerations, and inefficiencies

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b. Safeco's Witnesses:

ii.

Safeco will call the following witnesses at trial:

1.

2.

8.

9.

Bob West

Bill Freehling

Donald Meyer

Larry Irwin

Victor Ostrowski

Daniel Hoffman - by deposition or in person.
J ames Werner - by deposition or in person.
David Schauer - by deposition or in person.

Matthew Bunchek - by deposition or in person.

Safeco may call the following witnesses:

1.

2.

Chris Frechette
Peter Brown
Skeeter Davis
Thom Price
Rob Cohen
Terry Godwin
J ames Taylor
Bill Bodford

Ron McGill

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concerning ARC’s alleged delays, accelerations, and inefficiencies

(9)

10. Any witness designated by ARC

iii. Safeco will call the following aforementioned expert witnesses:

Victor Ostrowski. Mr. OStrowski will offer opinions and conclusions in rebuttal

Deposition Testilnony:

Except as stated in the foregoing list of witnesses, the parties do not expect to offer any

deposition testimony into evidence at trial. However, the parties reserve the right to introduce

any deposition taken in this cause.

(10)

(11)
(12)

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An Estimate of the Length of Trial:

The parties estimate that the trial of this cause will take approximately four (4) days.

This Case is a Non-Jury Trial.

Amount of Ascertainable Damages:

a. ARC's claimed damages:

Actual cost of soft demolition work on 4th floor

Actual cost of soft demolition work on 5th floor

Actual average cost of soft demolition work on 4th floor
Actual average cost of soft demolition work on 5th floor
Labor inefficiency on 4th floor

Labor inefficiency on 5th floor

Total labor inefficiency for 4th and 5"' floors

ARC’s costs for additional mobilizations -

8 mobilizations @ average of 9 men per trip
($270 per man per mobilization-

30

$120,754.00
$ 95,498.00
$ 9,112.00
$ 29,112.00
$ 91,642.00
3 66,382.00

$158,024.00

$ l7,010.00

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Added per diem due to additional time

required to hand demo 4th floor

(34 days - 7 = 27 days w/9 men @ $35)

Added per diem due to additional time required
to hand demo 5th floor

(27 days - 7 = 20 days w/9 men @ $35)

Project Coordinator Salary
47 days @ $393.00

Project Coordinator Per Diem
47 days @ $40.00

Project Coordinator Housing
47 days @ $66.50

General Foreman Salary
47 days @ $373.00

General Foreman Per Diem
47 days @ $35.00

12 one-yard carts to load out debris
Bobcats (2) on site -
453 loaders
61 days @ $180.00
Subtotal cost
Original Sof`t Demolition Contract Balance
Sum of Unpaid Sof`t Demolition
Hard Demolition Cost
Original Hard Contract Balance

Sum of Unpaid Hard Demolition

Total

b. Safeco's claimed damages: None.

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$ 7,505.00

$ 6,300.00

$ 18,471.00

$ 1,880.00

$ 3,125.50

$ 17,531.00

$ 1,645.00

$ 7,780.00

$ 10,980.00
5251,271.00
3 3,203.00
$ 254,474.00
$ 526,262.00
$ 31,337.00
$ 557,599.00

$812,073.00

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(13) Interested Attorneys:

Roy S. Cohen and Shawn R. Farrell, Cohen, Seglias, Passas, Greenhall & Furman, P.C.,
1515 Market Street, l 1th Floor, Philadelphia, PA 19102. Attorney for ARC.

Joseph T. Getz, Less, Getz, & Lipman, 100 Peabody Place, Ste. 1000, Mernphis, TN
38103; (901) 525-8700. Attorney for ARC.

John M. Gillum, Manier &, Herod, 2200 One Nashville Place, 150 Fourth Avenue North,
Nashville, TN 37219; (615) 244~0030. Attorney for Safeco.

Copies of the letterhead for each of the above-listed attorneys are attached hereto as
Collective Exhibit A.
(14) Special Equipment to be Used:

A videocassette recorder, television monitors, and overhead projectors.

Respectfully submitted

Shawn R. Farrell

COHEN, SEGLIAS, POLLAS,
GREENHALL & FURMAN, PC
1515 Market Street, 11th Floor
Philadelphia, PA 19102

and

Joseph T. Getz

LESS, GETZ, & LIPMAN
100 Peabody Pl., Ste 1000
Memphis, TN 38103
(901) 525-8700

Attorncys for Plaintiff

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an;i/\ May

M. Gillum (BPR No. 10230)
NIER & HEROD
2200 One Nashville Place
150 Fourth Avenue North
Nashville, TN 37219
(615) 244-0030

Attorneys for Defendant

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:03-CV-02860 was distributed by fax, mail, or direct printing on
June 14, 2005 to the parties listed.

 

Kenneth Schrupp

Sl\/HTH & CASH[ON
424 Church St.

Ste. 1200

Nashville, TN 37219--230

John M. Gillum
MANIER & HEROD

150 4th Avenue North
Ste. 2200

Nashville, TN 37219--249

Joseph T. Getz

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

l\/lemphis7 TN 38103

Shawn R. Farrell

COHEN SEGLIAS PALLAS GREENHALL & FURMAN, PC

15 15 Market Street
1 lth Floor
Philadelphia, PA 19102

Roy S. Cohen

COHEN SEGLIAS PALLAS GREENHALL & FURMAN, PC

15 15 Market Street
1 lth Floor
Philadelphia, PA 19102

Honorable .l on McCalla
US DISTRICT COURT

